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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OKLAHOMA


United States of America,
                                           Plaintiff,
vs.                                                        Case No.: 22-CR-115-CVE (1)


Richard Dale Deeter, Jr.                                   WAIVER OF SPEEDY TRIAL
                                         Defendant.


          The Defendant, Richard Dale Deeter, Jr. (“Defendant”) acknowledges that he has been fully
advised of his/her right to a speedy trial and understands that right has been guaranteed by the Sixth
Amendment of the United States Constitution and by the Speedy Trial Act, 18 U.S.C. § 3161. With
such knowledge, Defendant freely and voluntarily waives his right to a speedy trial herein. Defendant
requests the Court find that the ends of justice served by granting the continuance outweigh the
interests of the public and Defendant in a speedy trial.
          Defendant specifically requests that all delays resulting from a continuance of his jury trial
from July 11, 2022 to January 17, 2023 be excluded from computation under the Speedy Trial Act
pursuant to 18 U.S.C. § 3161, et. seq.



          _S/Richard Dale Deeter, Jr.                                 5/25/2022
          Defendant                                                   Date


          I have consulted with my client, Defendant, who has expressed a clear and unequivocal
understanding of the right to speedy trial and voluntarily waived such right as set forth herein.



          S/ Fred Randolph Lynn                                       5/26/2022
          Attorney for Defendant                                      Date




Waiver of Speedy Trial                                                               (CR-06p Modified 8/2021)
